         Case 1:19-cv-00603-APM Document 52 Filed 09/06/19 Page 1 of 4



                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA
 _________________________________________
                                           )
ATHENEX INC., et al.,                      )
                                           )
      Plaintiffs,                          )
                                           )
             v.                            )  Case No. 19-cv-00603 (APM)
                                           )
ALEX M. AZAR II, et al.                    )
                                           )
      Defendants.                          )
_________________________________________ )

                                             ORDER

       Plaintiffs (“Athenex”) seek a stay or injunction of the court’s Order of August 1, 2019,

granting summary judgment in favor of Federal Defendants and Intervenor-Defendants,

Athenex Inc. v. Azar, No. 19-CV-00603 (APM), 2019 WL 3501811, at *15 (D.D.C. Aug. 1, 2019).

See Athenex’s Mot. for a Stay or Injunction Pending Appeal, ECF No. 41 [hereinafter Mot. for

Stay]. The court has elsewhere discussed the standard for injunctive relief pending appeal,

see, e.g., Cigar Assoc. of Am. v. FDA, 317 F. Supp. 3d 555, 560–61 (D.D.C. 2018), and

incorporates that discussion here. Having considered the required factors, the court concludes that,

even if Athenex has raised “serious legal questions going to the merits,” see id. at 561 (internal

quotation marks and citations omitted), the remaining factors do not support granting the

“extraordinary relief” that it seeks, Citizens for Responsibility & Ethics in Washington v.

Fed. Election Comm’n, 904 F.3d 1014, 1017 (D.C. Cir. 2018).

       Critically, Athenex has not established irreparable harm, which by itself is fatal to its

request for stay. See Sampson v. Murray, 415 U.S. 61, 88 (1974) (noting that irreparable harm has

“always” been “[t]he basis of injunctive relief in the federal courts”) (quoting Beacon Theatres,

Inc. v. Westover, 359 U.S. 500, 506–07 (1959)).          In Cuomo v. U.S. Nuclear Regulatory
          Case 1:19-cv-00603-APM Document 52 Filed 09/06/19 Page 2 of 4



Commission, the D.C. Circuit held that “self-imposed costs are not properly the subject of inquiry

on a motion for stay.” 772 F.2d 972, 977 (D.C. Cir. 1985). There, an electrical utility company

asserted that the court should factor into its harm analysis the costs it would incur from a licensing

delay, including the need to continue paying retained experts during the period of delay, as well as

that delay would require it to purchase new supply. See id. The court declined to consider either

cost. With respect to the hiring of experts, the court observed that the utility had taken “a risk that

a low-power testing license might not be granted or might be delayed. Such self-imposed costs

are not properly the subject of inquiry on a motion for stay.” Id. As for the need to purchase new

supply, the court characterized that cost as a “self-imposed risk,” one incurred “without any

assurance that low-power testing would go forward.” Id.

       Here, Athenex contends, in short, that it will lose substantial revenue and suffer potential

collateral consequences if the court refuses a stay. See Decl. of Joseph Mase, ECF No. 39-5,

¶¶ 11–23. But those costs are “self-imposed.” Athenex took a business risk by producing a bulk-

compounded vasopressin product “without any assurance” that the Food and Drug Administration

(“FDA”) would recognize a “clinical need” for vasopressin under Section 503B. Indeed, Athenex

announced its product launch on August 13, 2018, a mere 15 days before the FDA would issue its

proposed determination that there was not a “clinical need” for vasopressin. See Athenex Mot. to

Intervene, Par Sterile Prods., LLC v. Hargan, No. 1:17-cv-02221-APM, ECF No. 19, at 11; List

of Bulk Drug Substances for Which There is a Clinical Need Under Section 503B of the Federal

Food, Drug, and Cosmetic Act, 83 Fed. Reg. 43,877 (Aug. 28, 2018). That proposed action

threatened the continued viability of Athenex’s vasopressin product. Yet, even after the FDA’s

announcement, Athenex significantly grew its manufacture and sales, “without any assurance” that




                                                  2
          Case 1:19-cv-00603-APM Document 52 Filed 09/06/19 Page 3 of 4



the FDA would reverse course and place vasopressin on the “clinical need” list. Cuomo, 772 F.2d

at 977. The potential loss of revenue in such circumstances does not qualify as irreparable harm.

       Athenex counters that its “harm is not one of its own making,” but rather “is the result of

using a regulatory framework FDA created and raising an APA challenge to FDA’s clinical need

determination.” Athenex’s Reply Mem. Supporting Its Mot. for a Stay, ECF No. 47, at 6. But “[a]

stay pending appeal is not intended to inoculate a party against the risks of litigation, nor is it the

Court’s role to grant emergency relief to protect a party from the consequences of its own fully-

informed decisions.”     See Friends of the Capital Crescent Trail v. Fed. Transit Admin.,

263 F. Supp. 3d 144, 151 (D.D.C. 2017) (citations omitted). As discussed, two weeks and a day

after launching its product, Athenex learned that the FDA was disinclined to place vasopressin on

the “clinical need” list, thereby placing in grave doubt its ability to continue bulk compounding

with vasopressin. Athenex cannot reasonably claim, under that timeline, the harm it now faces is

not the product of taking business and litigation risks that did not pay off.

       The balance of equities also does not favor a stay. Whatever sales Athenex will lose in the

absence of an injunction presumably will be gained by a competitor. See Serono Labs., Inc. v.

Shalala, 158 F.3d 1313, 1326 (D.C. Cir. 1998) (noting that courts must consider “the extent to

which an injunction will substantially injure the other party”). Both Par Sterile, which produces

the FDA-approved branded product, Vasostrict, and PharMEDium Services, which bulk

compounds Vasostrict into a ready-to-use formulation, see Athenex, 2019 WL 3501811, at *14,

stand to pick up the sales lost by Athenex. Thus, the “balance of harms results roughly in a draw.”

Serono Labs, 158 F.3d at 1326.

       Finally, the public interest here leans in favor of denying an injunction. As the court found,

the “FDA’s method of determining ‘clinical need’ for a bulk drug substance by referring to the



                                                  3
         Case 1:19-cv-00603-APM Document 52 Filed 09/06/19 Page 4 of 4



approved product is supported by the text, structure, and purposes of Section 503B.” Athenex,

2019 WL 3501811, at *13. Apparently, this decision has enabled the agency to move forward

with making other “clinical need” determinations under Section 503B. See List of Bulk Drug

Substances for Which There is a Clinical Need Under Section 503B of the Federal Food, Drug,

and Cosmetic Act, 84 Fed. Reg. 46,014 (Sept. 3, 2019). The public interest favors the agency

carrying out its statutory functions under the Food, Drug and Cosmetic Act, instead of facing an

extended period of uncertainty that would arise from a stay. Cf. Serono Labs., 158 F.3d at 1326–

27 (finding the public interest served where FDA likely properly approved a new generic drug).

       For the foregoing reasons, Athenex’s Motion for a Stay or Injunction Pending Appeal,

ECF No. 41, is denied.




Dated: September 6, 2019                                  Amit P. Mehta
                                                   United States District Court Judge




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